  Case 2:94-cr-00062-MHT-SRW Document 1907 Filed 08/09/07 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-MHT
FRANK SOWERS                      )             (WO)

                               OPINION

    Pursuant to Fed.R.Civ.P.60(b), defendant Frank Sowers

filed    a   motion   asking   the    court    to   vacate    a   prior

judgment.     This criminal case is now before the court on

the recommendation of the United States Magistrate Judge

that the motion should be denied.             Also before the court

are Sowers’s objections to the recommendation.                After an

independent and de novo review of the record, the court

concludes that the objections should be overruled and the

magistrate judge’s recommendation adopted.

    An appropriate judgment will be entered.

    DONE, this the 9th day of August, 2007.


                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
